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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

TIEN NGUYEN,
Petitioner,

Vv.

UNITED STATES OF AMERICA, Cr. No. 97-10102-MLW

Respondent.

MEMORANDUM AND ORDER

WOLF, D.J. September 22, 2021

Petitioner Tien Nguyen, a Vietnamese national, pled guilty in
1997 to possession of counterfeit securities. In 2017, Nguyen
filed a Petition for Coram Nobis, Audita Querela, or Other
Appropriate Relief (Dkt. No. 111) (the “Petition") in which he
seeks to vacate his conviction on the ground that his guilty plea
was made on his counsel's inaccurate advice that this offense did
not constitute an "aggravated felony" which would subject him to
deportation and render him ineligible for naturalization.

As explained below, the court is granting the Petition because
this case presents extraordinary circumstances warranting the

unusual remedy of coram nobis relief.
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I. FACTS

Nguyen was born in Saigon, Vietnam in 1978. He entered the
United States in 1983 with his father, who had been an officer in
the South Vietnamese Army and was apparently fleeing the ruling
Communist Party. His father obtained asylum based on his fear of
persecution. See Affidavit of Tien Nguyen (Docket No. 111-1) (the
"Nguyen Aff£.") at 414. In 1984, Nguyen obtained permanent resident
status as a refugee. See id. at 95. Nguyen's father became a
naturalized United States citizen in 1990. See Jun. 12, 1997
letter from J.W. Carney, Esq. to Anthony Drago, Esq., Exhibit B to
Petition (the "Carney Letter") (Dkt. No. 111-2) at 8 of 23.

On April 23, 1997, Nguyen was indicted with several co-
conspirators on one count of possession of counterfeit securities
in violation of 18 U.S.C. §513(a) and one count of conspiracy in
violation of 18 U.S.C. §371. See Indictment, Exhibit A to Petition
(Dkt. No. 111-2) at 2-5 of 23. These charges stemmed from a check-
cashing scheme in which Nguyen located people in Massachusetts who
were willing to cash forged payroll checks and provided their names
to an acquaintance in California. See Indictment at 3. The
acquaintance had forged checks issued in their names and sent them
to Nguyen. See id. Nguyen then had these people cash the
counterfeit checks. See id. at 3-4. He was eventually caught
after soliciting an undercover police officer to participate in

this scheme. See id.
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J. W. Carney, Esq. was appointed as Criminal Justice Act
counsel for Nguyen. See Nguyen Aff. at fll. Nguyen informed
Carney that he had fled Vietnam as a refugee as a child and that
his priority in this case was to avoid possible deportation. See
id. at 912. Carney consulted Anthony Drago, Esq., an immigration
lawyer, to advise him concerning the potential immigration
consequences of a conviction in this case. See Affidavit of J. W.
Carney (the "Carney Aff.") (Dkt. No. 111-3) at 92-5; see also
Carney Letter (stating that "[Nguyen]'s legal status is of
particular concern because the Government has made mention of the
fact that this boy could be facing deportation if he pleads guilty
to the charges or is convicted of the charges."). Drago advised
Carney that the possession of counterfeit currency securities
would not be an "aggravated felony" or a "crime of moral
turpitude." Carney Aff. at 96. Relying on this advice, Carney
told Nguyen that a guilty plea to the possession of counterfeit
securities charge "would avoid the potential for removal or
deportation." Id. at 116-7.

Carney subsequently negotiated a plea agreement in which the
government agreed to dismiss the conspiracy charge. See Plea
Agreement, Exhibit C to Petition (Dkt. No. 111-2) at 11-15 of 23.
Carney thought that this plea agreement would allow Nguyen to avoid
immigration consequences because of his belief, based on Drago's

advice, that the remaining count of possession of counterfeit

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securities did not constitute an “aggravated felony" or "crime of
moral turpitude" under the Immigration and Nationality Act
("INA"). See 8 U.S.C. §§1101 (a) (43), (£) (8); 8 CFR
§316.10(b) (1) (ii), (2) (i); see also Apr. 9, 1998 Letter from Drago
to Carney, Exhibit E to Petition (Dkt. No. 111-2) at 20 of 23.

Nguyen pled guilty to the charge of possession of counterfeit
securities on November 10, 1997. See Nguyen Aff. at 719120-22. On
April 3, 1998, the court sentenced him to serve 15 months
incarceration and 36 months Supervised Release. See Nguyen Aff.
at (24. It also granted the government's motion to dismiss the
conspiracy charge. See id.

After Nguyen was released from custody, he made several
attempts to obtain derivative citizenship through his father. See
Nguyen Aff. at 126. These efforts failed, at least in part because
Nguyen's father had died and Nguyen was unable to acquire the
necessary documentation. See id.

Following these failed attempts to obtain derivative
citizenship through his father, Nguyen applied for non-derivative
naturalization, pursuant to 8 U.S.C. §1427(a), based on his
continuous lawful presence in the United States. See id. at 27.
On January 8, 2015, United States Citizenship and Immigration
Services ("USCIS") issued its decision denying Nguyen's
application. See Decision Letter, Exhibit F to Petition (Dkt. No.

111-2) at 22-23 of 23. It stated that Nguyen's conviction for
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possession of counterfeit securities constituted an aggravated
felony under the INA. See id. USCIS reasoned that Nguyen's
offense was an aggravated felony, as defined by 8 U.S.C.
§1101 (a) (43) (D), because violation of 18 U.S.C. §513 (a)
constituted "an offense described in section 1956 of title 18."
Id. USCIS stated that Nguyen's conviction for an aggravated felony
permanently bars him from establishing the requisite "good moral
character" to obtain citizenship through naturalization. See id.;
see also 8 U.S.C. §1427(a) ("No person . . . shall be naturalized
unless such applicant . .. has been and still is a person of good
moral character ... ."); 8 U.S.C. §1101(f) (8) ("No person shall
be regarded as, or found to be, a person of good moral character
who... is... . one who at any time has been convicted of an
aggravated felony (as defined in [8 U.S.C. §1101] (a) (43))."). The
decision does not state any other ground for the denial. See id.

After receiving the Decision Letter, Nguyen sought advice
from immigration attorneys and was informed that an appeal of
USCIS's decision would be futile. See Nguyen Aff. at 128. Nguyen
retained counsel and filed the Petition on May 25, 2017. See id.
Nguyen seeks relief primarily in the form of a writ of error coram
nobis. In the alternative he seeks relief in the form of a writ
of audita querela, or "other appropriate relief under the All Writs
Act, or under Rule 60(b) of the Federal Rules of Civil Procedure."

Dkt. No. 112 at 1. The government filed its opposition to the

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Petition on August 25, 2017 (Docket No. 120) (the "Opposition").
Nguyen filed a reply on September 21, 2017 (Docket No. 125).
II. LEGAL STANDARDS

A court considering a coram nobis petition presumes that the
original proceedings were valid. See United States v. Morgan, 346
U.S. 502, 512 (1954). The burden to prove otherwise is a heavy
one and is placed on the petitioner. Id. As the First Circuit
has explained:

[I]n its modern form, [the writ of error coram nobis] is
ordinarily available only to a criminal defendant who is
no longer in custody. .. . But [a defendant's]
eligibility for this remedy of last resort hinges on
more than the simple fact that he is no longer serving
his sentence. For one thing, he must adequately explain
his failure to seek relief earlier through other means.
Further, he must also show that he continues to suffer
a significant collateral consequence from the judgment
being challenged and that issuance of the writ will

eliminate this consequence. Finally . . . he must
demonstrate that the judgment resulted from a
fundamental error. And even if Petitioner satisfies

this tripartite test, [a court] retain[s] discretion to
grant or deny the writ. Indeed, the Supreme Court has
always envisioned [coram nobis] as strong medicine, not
profligately to be dispensed, so [a court] must issue
this writ only under circumstances compelling such
action to achieve justice.

Williams v. United States, 858 F.3d 708, 714-15 (1st Cir. 2017)

(internal quotations and citations omitted).

III. DISCUSSION
The government properly concedes that the Petition is timely.

See Opposition at 29-30. The First Circuit has not required

petitioners to file coram nobis petitions within any specific

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amount of time, and instead only requires that they “explain
[their] failure to seek relief from the judgment earlier." United
States v. George, 676 F.3d 249, 254 (lst Cir. 2012).

The government also properly concedes that Nguyen's
conviction resulted from ineffective assistance of counsel, which
is a fundamental error. See Opposition at 35-36. "To succeed on
[his ineffective assistance of counsel] argument, [p]etitioner
must first show that his counsel's 'performance was deficient, '
and he must then show that 'the deficient performance prejudiced
the defense.'" Williams, 858 F.3d at 715 (quoting Strickland v.
Washinton, 466 U.S. 668, 687 (1984)).

In 2010, the Supreme Court recognized that counsel's failure
to advise or provision of inaccurate advice regarding the
deportation consequences of a guilty plea constitutes ineffective
assistance of counsel under the Sixth Amendment. See Padilla v.
Kentucky, 559 U.S. 356, 364-71 (2010). The First Circuit has found
Padilla to be retroactive as to claims, like Nguyen's, that counsel
affirmatively misadvised, rather than failed to advise, a
defendant about the deportation consequences of a guilty plea.
See United States v. Castro-Taveras, 841 F.3d 34, 51 (lst Cir.
2016). As the government notes, "the terms of the relevant
immigration statutes are succinct, clear, and explicit" in

defining Nguyen's conviction as an "aggravated felony" to which
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severe immigration consequences attach. Opposition at 34.1!
Carney's advice to Nguyen that the possession of counterfeit
securities charge to which he pled guilty was not an aggravated
felony and would not subject him to possible deportation "'fell
below an objective standard of reasonableness.'" United States v.
Peralta, 597 F.3d 74, 79 (lst Cir. 2010) (quoting Strickland, 466
U.S. at 688). He was, therefore, ineffective.

Nguyen has also established that he was prejudiced by his
counsel's ineffectiveness. See Strickland, 466 U.S. at 687-88.
As the Supreme Court has held:

When a defendant alleges his counsel's deficient
performance led him to accept a guilty plea rather than
go to trial, we do not ask whether, had he gone to trial,
the result of that trial would have been different than
the result of the plea bargain. .. . We instead
consider whether the defendant was prejudiced by the
denial of the entire judicial proceeding . . . to which
he had a right... . [W]hen a defendant claims that
his counsel's deficient performance deprived him of a
trial by causing him to accept a plea, the defendant can
show prejudice by demonstrating a reasonable probability
that, but for counsel's errors, he would not have pleaded
guilty and would have insisted on going to trial.

 

1 Specifically, 8 U.S.C. §1101(a) (43) (R) defines one type of
aggravated felony as "an offense relating to... counterfeiting
for which the term of imprisonment is at least one year.
"Any violation of 18 U.S.C. §513(a) qualifies as an offense
relating to counterfeiting and, thus, as an aggravated felony under
8 U.S.C. § 1101(a) (43) (R)." Kamagate v. Ashcroft, 385 F.3d 144,
156 (2d Cir. 2004). As explained earlier, Nguyen was convicted of
possession of counterfeit securities in violation of 18 U.S.C.
§513(a) and received a sentence of imprisonment of more than one
year.

 
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Lee v. United States, 137 S. Ct. 1958, 1965 (2017). Here, there
is a reasonable probability Nguyen would have rejected the plea
bargain had he known that his guilty plea would render him
deportable and permanently ineligible for citizenship. Nguyen
told Carney that he "would not and could not plead guilty if doing
so would result in [his] removal or deportation." See Nguyen Aff.
at 712. As Nguyen came to the United States at age five, had lived
here for 13 years, and had no connection to Vietnam, deportation
would have been a more severe penalty than any foreseeable marginal
increase in Nguyen's sentence which might have resulted from a
conviction following trial rather than a guilty plea pursuant to
a plea agreement. As the Supreme Court noted in Lee, where the
consequences of a guilty plea are "similarly dire" to the
consequences of going to trial, "even the smallest chance of
success at trial may look attractive." Lee, 137 S. Ct. at 1966.
Therefore, rejection of the plea bargain "would have been rational"
if Nguyen had been correctly informed that the offense he was
pleading guilty to was an aggravated felony. Padilla, 559 U.S. at
372.

Nevertheless, the government argues that the Petition should
be denied on the ground that Nguyen "cannot show that he continues
to suffer a significant collateral consequence from the judgment

being challenged and that issuance of the writ will eliminate this
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consequence."2 Opposition at 30 (internal quotation and citation

omitted). The First Circuit "[{has] not explicitly set out what

comprises a continuing collateral consequence." George, 676 F.3d
at 255-56. It has, however, articulated two necessary, but not

necessarily sufficient, requirements: (1) the consequence must go
beyond "the mere fact of a conviction"; and (2) "it must be shown
that the court's decree will eliminate the claimed collateral
consequence and bring about the relief sought." Id. at 256, n.2

& 3.

 

2 In a related argument, the government contends that because
Nguyen has not yet been ordered deported his claims are not ripe;
there is no case or controversy as required by Article III of the
United States Constitution; and, therefore, the court lacks
jurisdiction to adjudicate the Petition. See Opposition at 22-
28. However, in Castro-Taveras, the First Circuit considered the
merits of a coram nobis petitioner's claim that his counsel had
misadvised him as to the immigration consequences of his plea,
without first deciding whether petitioner was facing removal
proceedings at the time he filed his petition. See Castro-Taveras,
841 F.3d at 38-42. In any event, because the court concludes, as
explained below, that Nguyen has demonstrated that he continues to
suffer significant collateral consequences from his conviction, it
also concludes that he has standing to seek the issuance of a writ
of coram nobis and that his claims are ripe for adjudication. See
United States v. Faison, 956 F. Supp. 2d 267, 269 (D.D.C. 2013)
("A petitioner seeking a writ of coram nobis must show that
adverse consequences exist from the conviction sufficient to
satisfy the case or controversy requirement of Article III."); see
also Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)
(identifying the doctrine of standing as "one of [the] landmarks
that set apart the Cases and Controversies that are of the
justiciable sort referred to in Article III" and explaining that
"the irreducible constitutional minimum of standing" contains the
"three elements" of "injury in fact," causation, and
redressability).

 

 

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In Fiswick v. United States, the Supreme Court indicated that
the loss of the opportunity to become a naturalized citizen
constitutes a significant collateral consequence. See Fiswick v.
United States, 329 U.S. 211, 221-22 (1946). This court finds that
it is.

In Fiswick, the Court held that the case of an alien who had
already served his sentence was not moot and he could still
challenge his conviction, in part because of the continuing effect
this conviction would have on his ability to seek naturalized
citizenship. See Fiswick, 329 U.S. at 220-22. The Court wrote:

[O]ther disabilities or burdens may flow from the
judgment, improperly obtained, if we dismiss this case
as moot and let the conviction stand. If [petitioner]
seeks naturalization, he must establish that during the
five years immediately preceding the date of filing his
petition for naturalization he has been and still is a
person of good moral character. An outstanding judgment
of conviction for this crime stands as ominous proof
that he did what was charged and puts beyond his reach
any showing of ameliorating circumstances or explanatory
matter that might remove part or all of the curse. And
even though he succeeded in being naturalized, he would,
unless pardoned, carry through life the disability of a
felon; and by reason of that fact he might lose certain
civil rights. Thus [petitioner] has a substantial stake
in the judgment of conviction which survives the
satisfaction of the sentence imposed on him. In no
practical sense, therefore, can [petitioner's] case be
said to be moot.

Id. (internal citations and quotations omitted). Although the
petitioner in Fiswick was not seeking a writ of error coram nobis,

the Supreme Court later cited Fiswick as authority for extending

the writ of coram nobis to petitioners who had already served a

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sentence of conviction but suffered ongoing collateral

consequences. See United States v. Morgan, 346 U.S. at 513, n.27

 

(fact that civil liberties may be affected makes petitioner

eligible for coram nobis relief); see also United States v.

 

Cariola, 323 F.2d 180, 182 (3d Cir. 1963) (convicted felon's loss
of right to vote is a continuing collateral consequence that is
sufficient to make the validity of his conviction a justiciable
question).

Like the petitioner in Fiswick, Nguyen is currently
ineligible to become a naturalized citizen due to his conviction.
This continuing consequence is real, not hypothetical, because
USCIS denied Nguyen's application for naturalization on this basis
alone. See Decision Letter. As Nguyen has maintained lawful
permanent residence in the United States for 37 years, he would
otherwise be eligible for naturalized citizenship. See 8 U.S.C.
§1427. Accordingly, the vacatur of Nguyen's conviction will
eliminate the sole cause of this significant collateral
consequence.

Furthermore, in Williams, 858 F.3d at 714, the First Circuit
had "little trouble concluding" that a petitioner whose prior
conviction "forever preclude[d] him from obtaining lawful
permanent resident status and subject[ed] him to deportation at
any moment" "“continue[{d] to suffer significant collateral

consequences from his [conviction] and that a writ of error coram

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nobis would remedy those consequences." Williams, 858 F.3d at
714-15. Nguyen's conviction for an aggravated felony similarly
subjects him to possible deportation. See 8 U.S.C. §1228(c).
Although the government contends that a 2008 repatriation
agreement between the United States and Vietnam excludes from
deportation Vietnamese nationals, like Nguyen, who arrived in the
United States prior to 1995, there is no guarantee that this
repatriation agreement will remain in effect in the future or that
it will be adhered to by the United States and Vietnam.3 Even if
the repatriation agreement renders Nguyen's actual deportation
impossible at present, Nguyen's conviction still subjects him to
the potentially severe consequence of placement into removal
proceedings and immigration detention. See 8 U.S.C. §§1226(a),
1228 (c).

In view of the foregoing, the court finds that "justice

demands the extraordinary balm of coram nobis relief." George,

 

3 In fact, news reports indicate that in 2017, the United States
deported a small number of Vietnamese nationals that arrived in
the United States prior to 1995 despite the fact that the
repatriation agreement was in effect. See, e.g., Charles Dunst,
Just SECURITY, "Protections Fall for Vietnamese Immigrants as Trump
Pushes Deportations", available at
https: //www. justsecurity.org/66015/protections-fall-for-
vietnamese-immigrants-as-trump-pushes-deportations/. It has also
been reported that such Vietnamese immigrants have been subject to
immigration detention, sometimes in excess of six months, despite
Vietnam's refusal to issue travel documents for those individuals.
See id.

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676 F.3d at 255 (internal quotation marks omitted). Therefore,
the court is granting the Petition on that ground.’
IV. ORDER
In view of the foregoing, it is hereby ORDERED that the
Petition for Coram Nobis, Audita Querela, or Other Appropriate
Relief (Docket No. 111) is ALLOWED. Accordingly, a writ of error

coram nobis is GRANTED and Nguyen's conviction is VACATED.

 

 

4 As the court is granting a writ of error coram nobis, it is not
addressing Nguyen's alternative claims for a writ of error audita
querela or for relief under the All Writs Act or Federal Rule of
Civil Procedure 60(b).

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